902 F.2d 3
    FEDERAL ELECTION COMMISSION, Plaintiff-Appellee,v.William FRANKLIN, a/k/a Billy A. Franklin, Defendant-Appellant.FEDERAL ELECTION COMMISSION, Plaintiff-Appellant,v.William FRANKLIN, a/k/a Billy A. Franklin, Defendant-Appellee.
    Nos. 89-1512, 89-1525.
    United States Court of Appeals,Fourth Circuit.
    Sept. 27, 1989.
    
      Appeals from the United States District Court for the Eastern District of Virginia, at Norfolk;  Robert G. Doumar, District Judge.
      Prior Report:  D.C., 718 F.Supp. 1272.
      Upon consideration of the Commission's motion for summary affirmance prior to briefing and the opposition thereto,
      IT IS ORDERED that the Commission's motion for summary affirmance is granted.
      IT IS FURTHER ORDERED that the protective order imposed by the district court and those portions of the district court's order specifying the time by which Franklin must respond to the Commission's questions is vacated.
    
    
      1
      IT IS FURTHER ORDERED that the district court shall require Franklin to respond to the Commission's questions forthwith, and in no case more than five days after the court's judgment is entered.
    
    
      2
      IT IS FURTHER ORDERED that the mandate of this Court shall issue forthwith.
    
    
      3
      Entered at the direction of Chief Judge ERVIN, with the concurrence of Judge CHAPMAN and Judge WILKINSON.
    
    